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 1                                                             Honorable Richard A. Jones

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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7   SCANNING TECHNOLOGIES                        No. 2:19-cv-01002 RAJ
     INNOVATIONS LLC,
 8
                   Plaintiff,                     CLERK’S ORDER OF DEFAULT
 9
           vs.
10
     SMARTOSC US LLC,
11
                   Defendant.
12

13          THIS MATTER has come before the Court on Plaintiff’s Motion for Entry of
14   Default as to Defendant Smartosc US LLC, and supporting documentation.
            Defendant Smartosc US LLC failing to appear, good cause being shown, and the
15
     Court being fully advised,
16
            IT IS HEREBY ORDERED that Defendant Smartosc US LLC is in default.
17          DATED this 10th day of September, 2019.
18                                          WILLIAM M. McCOOL,
                                            Clerk of the Court
19
                                            By:    /s/ Victoria Ericksen
20                                                 Deputy Clerk
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      CLERK’S ORDER OF DEFAULT – 1
